               Case 20-10261-amc                 Doc       Filed 11/09/21 Entered 11/09/21 08:54:25                                  Desc Main
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Fill in this information to identify the case:

Debtor 1              Terracino M King

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Eastern                  District of Pennsylvania
                                                                             (State)

Case number           20-10261-AMC



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             M & T Bank                                          Court claim no. (if known):         2

Last four digits of any number you                 XXXXXX0368                     Date of payment change:
use to identify the debtors’ account:                                             Must be at least 21 days after date of                12/1/2021
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any                $566.95

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:          $ 307.93                                      New escrow payment :            $ 312.32

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                         %                             New interest rate:          %

             Current principal and interest payment:        $ _________                   New principal and interest payment:             $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




Official Form 410S1                                Notice of Mortgage Payment Change                                                 page 1
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 Debtor 1            Terracino M King                                               Case number (if known) 20-10261-AMC
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/A. Michelle Hart Ippoliti                                                      Date     11/08/2021
     Signature

Print:         A. Michelle                                          Hart Ippoliti      Title   Authorized Agent for Creditor
               First Name            Middle Name                    Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                      30076
               City                          State                   ZIP Code

Contact phone      678-281-6537                                                        Email    Michelle.HartIppoliti@mccalla.com




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                                                       Bankruptcy Case No.: 20-10261-AMC
 In Re:                                                Chapter:             13
          Terracino M King                             Judge:               Ashely M. Chan


                                   CERTIFICATE OF SERVICE

       I, A. Michelle Hart Ippoliti, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama
Road, Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Terracino M King
857 N Camac Street
Philadelphia, PA 19123

MICHAEL ADAM COHEN                             (served via ECF Notification)
Law Office of Michael A. Cohen
2113 Snyder Ave.
Philadelphia, PA 19145

SCOTT F. WATERMAN, Trustee                     (served via ECF Notification)
2901 St. Lawrence Ave., Suite 100
Reading, PA 19606

United States Trustee                          (served via ECF Notification)
Office of the U.S. Trustee
200 Chestnut Street, Suite 502
Philadelphia, PA 19106

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:       11/09/2021       By:    /s/A. Michelle Hart Ippoliti
                    (date)                 A. Michelle Hart Ippoliti
                                           Authorized Agent for Creditor
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